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                                                              United States Bankruptcy Court
                                                                     Eastern District of Pennsylvania
 In re      Diane Koslosky                                                                                Case No.   15-13362
                                                                                     Debtor(s)            Chapter    13



                                                                         CHAPTER 13 PLAN


1.    Payments to the Trustee: The future earnings or other future income of the Debtor is submitted to the supervision and control of
      the Trustee. The Debtor shall pay to the Trustee the sum of $365.00 per month for 60 months. Total Plan payments shall be
      $21,900.00.

2.    Allowed claims against the Debtor shall be paid in accordance with the provisions of the Bankruptcy Code and her Plan.

3.    From the payments received under the plan, the Trustee shall make disbursements as follows:

      a.    Administrative Expenses

            (1) Trustee's Fee: Not to exceed 10.00%
            (2) Attorney's Fee (unpaid portion): $1,210.00

      b.    Priority Claims

            (1) Debtor shall pay in full all priority claims filed under 11 U.S.C. § 507 by making monthly payments to the Trustee as part
            of her Chapter 13 Plan.

      c.    Secured Claims

            (1) Secured creditors shall retain their mortgage, lien or security interest in collateral until the payment of the underlying debt
            determined under non-bankruptcy law.
            (2) Debtor shall cure defaults to RoundPoint Mortgage Servicing by making monthly payments to the Trustee as part of her
            Chapter 13 Plan.
            (3) Debtor shall continue to make regular monthly payments directly to the following creditors outside of the Plan.

                        RoundPoint Mortgage Servicing--Mortgage

      d.    Unsecured Claims

            (1) Timely filed allowed unsecured claims shall be paid pro-rata, without interest.

4. Title to Debtor's property shall revest in Debtor upon confirmation of the Plan.



 Date May 27, 2015                                                       Signature   /s/ Diane Koslosky
                                                                                     Diane Koslosky
                                                                                     Debtor




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